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 9                         UNITED STATES DISTRICT COURT
10                       EASTERN DISTRICT OF WASHINGTON
11 UNITED STATES OF AMERICA,                          No. CR-13-024-FVS-2
12
                        Plaintiff,                    ORDER GRANTING
13                                                    MOTION TO EXPEDITE AND
14 vs.                                                MOTION TO MODIFY ORDER
15 LARRY LESTER HARVEY,
                                         ☒     Motions Granted
16
                  Defendant.                   (ECF No. 385, 386)
17
18     Before the Court is Defendant’s Motion to Modify this Court’s Order
19   entered May 1, 2014. The U.S. Probation Office does not object; Assistant U.S.
20   Attorney Earl A. Hicks objects to this travel.
21          IT IS ORDERED:
22          1.    For good cause shown, the Defendant’s Motion to Expedite, ECF No.
23   386, is GRANTED.
24          2.    The Defendant’s Motion to Modify, ECF No. 385, is GRANTED.
25          3.    Defendant may travel to Washington, D.C., on June 3, 2014,
26   returning to Spokane no later than June 5, 2014. Defendant shall advise his
27   supervising Pretrial Services of his contact information while he is in Washington,
28   D.C.



     ORDER - 1
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 1        4.     Defendant shall abide by all conditions of release during his trip to
 2   Washington D.C.
 3        DATED June 3, 2014.
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 5                              _____________________________________
                                          JOHN T. RODGERS
 6                               UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
